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                            UNITED STATES DISTRICT COURT
                                       FOR THE
                                DISTRICT OF COLUMBIA

U.S.A. vs. RUTLEDGE, Macsen                                                    Docket No.: l:23CR00151-001
The Court may enter a minute order for any of the following options:

Warrant Requests Only - To help ensure the safety of law enforcement officers while a warrant is active, we ask that
you not enter a minute order. Rather, please print and sign this document and, if you concur with the request for a
warrant, provide all pages to your Court Room Deputy Clerk who will enter a sealed minute order and process the
warrant for service without alerting the public or the offender. After the warrant is executed, the Deputy Clerk will
unseal the warrant unless otherwise directed by the Court.

THE COURT ORDERS:

1. ✓   concurs with the recommendation of the Probation Office to "you shall serve 75 days in
home detention under conditions to be set by the probation officer. Your period of home
detention shall begin at the earliest practicable date after this modification is ordered. You are
required to be in your place of residence at all times except for approved absences for gainful
employment, community service, religious services, medical care, educational or vocational
programs, and such other times as may be specifically authorized by the probation officer or the
Court. Location and/or monitoring technology shall be used to monitor your compliance. You
shall pay all costs associated with the use of this system according to your ability to pay as
determined by the probation officer".

2. D No action

3. D Issuance of a warrant and enter into NCIC and schedule a hearing upon execution

4. D Issuance of a summons and schedule a hearing

5. D Hearing to modify, revoke, or terminate supervised release shall be held before a magistrate
     judge for the preparation of a report and recommendation to the district judge. This
     designation will remain for the duration of the case, and the designated magistrate judge
     will respond to all subsequent requests from the probation office unless otherwise ordered
     by the district judge.

6. D Other




                                         United States District Judge

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                                                       Date
